
77 Ill. App.2d 102 (1966)
222 N.E.2d 160
In the Matter of the Estate of Alice B. Atwood, Deceased.
Thomas H. Fisher, Respondent-Appellant,
v.
Continental Illinois National Bank and Trust Company of Chicago, as Executor of the Estate of Alice B. Atwood, Deceased, Petitioner-Appellee.
Gen. No. 51,829.
Illinois Appellate Court  First District, Fourth Division.
November 18, 1966.
Thomas H. Fisher, pro se, of Chicago, appellant.
Mayer, Friedlich, Spiess, Tierney, Brown &amp; Platt, of Chicago (Roger W. Barrett, of counsel), for appellee.
MR. JUSTICE ENGLISH delivered the opinion of the court.
The order from which respondent seeks to appeal directs him to produce at a citation hearing on November *103 23, 1966, certain books, papers and records which might contain information concerning the estate of decedent.
[1, 2] The jurisdiction of this court to review orders of the Circuit Court is limited to (1) final judgments, and (2) those kinds of interlocutory orders covered by Supreme Court Rules 30 and 31.[**] Harris Trust &amp; Savings Bank v. Briskin Mfg. Co., 63 Ill. App.2d 12, 14-19, 211 NE2d 32. The order in question falls in neither of these categories, so, on the court's own motion, this appeal is dismissed. Impey v. City of Wheaton, 60 Ill. App.2d 99, 102-105, 208 NE2d 419.
Appeal dismissed.
DRUCKER, P.J. and McCORMICK, J., concur.
NOTES
[**]   SHA Const Art VI, § 7; Ill Rev Stats (1965), ch 110, §§ 101.30 and 101.31 relating to new trials, injunctions and receivers.

